         Case 2:19-cv-06116-RBS Document 27 Filed 07/03/20 Page 1 of 3




                           IN THE UNITED STATES DISTRICT
                        COURT FOR THE EASTERN DISTRICT OF
                                 PENNSYLVANIA


  American Hypnotherapy Society, LLC et al,                 )
                                                            )
                  Plaintiffs,
                                                            )
           V.                                               )
                                                            ) Case No.: 2:19-cv-06116-RBS
  ABC Capital Investments, LLC, et al.                      )
                                                            )
                  Defendants.
                                                            )
                                                            )

     RESPONSE OF DEFENDANTS TO PLAINTIFF’S MOTION FOR INJUNCTIVE
                               RELIEF

       Defendants, ABC Capital Investments, LLC, ABC Capital Realty, LLC, Philly

Acquisitions, LLC, Giovanni Real Estate, LLC, New Philly Construction, LLC, Stateside-

Philly, LLC, Jason “Jay” Walsh, and Karen Lee-Walker, state the following in response to

Plaintiffs’ Motion for Injunctive Relief:

1.     Denied. This Court should not grant Injunctive Relief. There is no sudden emergency

warranting injunctive relief as Plaintiffs cannot show irreparable damages. All damages, as

alleged, are economic damages capable of being calculated by the parties. Any actual monetary

judgment owed can be paid after all evidence and defenses are submitted.

2.     The estimated damages proposed by Plaintiffs in their complaint are baseless as they

have not substantiated their losses to explain their actual financial damages with admissible

evidence submitted to this Court. The alleged damages will also be offset by the current

property values of each home as each Plaintiff owns or has owned the property at issue. This

will allow Plaintiffs to recoup their investment as it has been incorrectly asserted that

Defendants “control” these properties to imply falsely that Plaintiffs cannot own or manage

these properties. This is plainly untrue. Each Plaintiff can sell their property.
                 Case 2:19-cv-06116-RBS Document 27 Filed 07/03/20 Page 2 of 3




         3.     Injunctive relief is also not required to compel the production of documents. Plaintiffs

         will receive all documents and information consistent with routine discovery requests. And

         finally, freezing corporate bank accounts is unjustified without a final judgment, and will

         interfere in general business operations having nothing to do with the plaintiffs. This attempt to

         freeze assets is nothing more than an attempt to increase leverage during settlement negotiations

         and is without legal support.

WHEREFORE, Defendants deny that Plaintiffs are entitled to the relief requested and rely upon the

attached Brief and Exhibits in opposition to Plaintiff’s Motion.




                                                      THE SWAIN LAW FIRM, P.C.


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Dated:    07/03/2020
               Case 2:19-cv-06116-RBS Document 27 Filed 07/03/20 Page 3 of 3




                                  CERTIFICATE OF SERVICE

      I, Andrew D. Swain, Esquire hereby certify that the foregoing Opposition to Plaintiff’s Motion

for Injunction, Brief and Exhibits were served via ECF as follows on 07/03/2020 and by email.


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